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   EXHIBIT 1
             Case 2:19-cv-00725-JCM-DJAElectrbnically,
                                          Document        1-1 Filed 04/29/19 Page 2 of 8
                                                       Issued
                                                    3/28/2019 10:02 AM




                                             D.ISTRICT COURT
                                          CLARK COUNTY, NEVADA


LA MOJARRA LOCA, INC.,                          )        CASE NO.: A-19-790984-C
                                                )        DEPT. NG. 24
                                                )
                                                )
                                                )
                        Applicant,
                                                )
v                                              }         SUA'IlMONS
                                                )
WELLS FARGO MERCHANT                            )
SERVICES.LLC; WELLS FARGO
BANK, N.A.; WELLS FARGO &
 CO.; FIRST DATA MERCHANT
SERVICES CORPORATION, DOES
 I-X INDIVIDUALLY; ROE
 CORPORATIONS I-X.

                         Adverse Party.




NOTICE! YOU HAVE BEEN SUED. THE COURT MAY DECIDE AGAINST YOU WITHOUT
YOUR BEING HEA.RD UNLESS YOU RESPOND WITI-IIN 20 DAYS. READ THE INFORMATION
BELOW.

 TO THE ADVERSE PARTIES: WELLS FARGO MERCHANI SERVICES LLC• WELLS FARGO
BANICC, N.A.; WELLS FARGO & CO.; FIRST DATA MERC ' SERVICES CORPORATION,
DOES I-X INDIVIDUALLY; ROE CORPORATIONS I-X

    A civil Complaint has been filed by the Applicaiit against you for the relief set fortli in the Complaint.

     1. If you intend to defend this lawsuit, within 20 days after this Summons is served on you exclusive of
the day of service, you inust do the following:
        a. File with the Clerk of this Coui-t, whose address is slhown below, a fonnal written response to the
Complaint in accordance witli the niles of the Court.
        b. Serve a copy of your response upon the attorney wliose name and address is shown below.

     2. Unless you respond, your default will be entered upon application of the Applicant and this Court may
enter a judgment against you for th.e relief deman.ded in tlie Complaint, which could. result in the taking of
money or property or other relief requested in the Coniplaint.




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     3. If you intend. t.o seek the advice of an attortiey .in this matter, you sliould do so proinptly so that your
response may be filed on time.
                                                                       STEVEN D. CilIERSON
Issued at direct' ~ of                                                CLERIC O.F Gi3?URT
                                                                    By~ ~,;:~-*~=' ~'k:;~.~-~'7"'-~3/28/2019
I?> NIEL W. ANDERSON, .ESQ.                                            DE.PUTY CI;ER1Q.,:. .:::: rq;
                                                                                                  ..• :
                                                                                                       Dat:;:
Nevada Bar No. 9955                                                    County Cvtirtl~oiise
703 S. Eighth Street                                                   200 South        Str: eC;.
Las Vegas, Nevada 89101                                                Las Vegas, Nevada 89155
(702) 336-0030
Attoiney for Applicant
NOTE: Wlien service is by publication, add a brief statement of the object of the action. See Rules of Civil Procedure, Rule 4(U).
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                                                                                      CLERV OF THE CO

     1    DANIEL W. ANDERSON, ESQ.                                                      ~
                                                                                      04f— . r"
          Nevada Bar No. 9955
     2    MILLS & ANDERSON
     3    703 S. 8TH Street
          Las Vegas, Nevada 89101                                      ,         CASE NO: A-19-              984-C
     4    (702) 386-0030                                                                                     mnt 24
          Attorneys for Plaintiff
     5
          attorne s@millsnv.com
      6
                                                  DISTRICT COURT
      7
                                             CLARK COUNTY, NEVADA
      8

      9                                                           CASE NO.:
                                                                  DEPT. NO.:
     10     LA MOJARRA LOCA, IlotC.
     11
                     Plaintiff,
     12     V.                                                    Esempt from Arbitration: Amount in
                                                                  Controversy Exceeds $50,000
     13     WELLS FARGO MERCHANT
     14     SERVICES LLC; WELLS FARGO
            BANK, N.A.; WELLS FARGO &
     15     CO.; FIRST DATA MERCHANT
            SERVICES CORPORATION, DOES
     16     I-X INDIVIDUALLY; ROE
     17     CORPORATIONS I-X.

     18             Defendant.
     19
     20
                                                      COMPLAINNT
     21
                   COMES NOW, the Plaintiff, LA MOJARRA LOCA, INC, ("LML") by and through its
     22
          counsel of record, DANIEL W. ANDERSON, ES Q., of the law offices of MILLS & ANDERSON
     23
          and hereby complaizis and alleges against above named Defendants as follows:
     24
                                                GENERAL ALLEGATIONS
     25
           1. Plaintiff at all times relevant hereto was and is a Nevada Coiporation, organized and
     26
                 operating tmder the laws of the state of Nevada;
     27
     28



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     1    2. Plaintiff brings this action agau-ist Defendants Wells Fargo & Co., We11s Fargo Banlc, N.A.,
     2       and Wells Fargo Merchant Services, LLC ("Wells Fargo") for their breach of contract and
     3       unjust enrichment.
     4    3. Defendant Wells Fargo Merchant Services, LLC is a Delaware limited 1'zability corb.pany that
     5       is co-owned by Wells Fargo Bank, N.A. and First Data Merchant Services Corporation,
     6       which is a wholly-owned subsidiaxy of First Data Coiporation.
     7    4. Defendant Welis Fargo Bank, N.A. is a subsidiary of Wells Fargo & Co. Wel1s Fargo Bank, '
     8
             N.A. is engaged in business providing banking services to customers and businesses
      9
              including, LML. Wells Fargo Bank, N.A. operates banking centers, and thus conducts
     10
              business, throughout the State of Nevada and the United States.
     11
          5. Defendant Wells Fargo & Co. is the parent of all Wells Fargo entities. Wells Fargo & Co.
     12
              is a financial services company providing banking, insurance, invest.ments, and consumer
     13
              finance to individuals, businesses, and institution in a1150 states and internationally. Wells
     14
              Fargo & Co. is headquartered in San Francisco, California.
     15
          6. The true names of DOES I tbrough X, their citizenship and capacities, whether individual,
     16
              corporate associate, partnership or otherwise, are unknown to Plaintiff who therefore sues
     17
              these Defendants by such fictitious names. Plaintiff is informed and believes, and therefore
     18
     19       alleges, that each of the Defendants, designated as DOES I through X, are or may be legally

     20       responsible for the events referred to in this action, and caused damages to the Plahitiff.

     21       DOES I throLtgh X are also any other person or entity legally responsible for the damages

     22       caused to Plaintiff. Plaintiff will ask leave of this Court to amend the Complaint to insert the

     23       tnie names and capacities of such Defendants, when the same have been ascertained, and to
     24       join them in this action, together with the proper charges and allegations.
     25   7. That the ti1ie names and capacities, whether corporate, partnership, associate or otherwise,
                                                                                                                 i
     26       of Defendants, ROE Entities, are unknown to Plaintiff, who therefore sues said Defendants
     27       by such fictitious names. Plaintiff is infoimed and believes and thereon alleges that each of
     28



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11      the Defendants designated herein as ROE eiitities are responsible in some manner for the
2       events and happenings referred to and caused damages proximately to Plaintiff as herein
3       alleged, and that Plaintiff will ask leave of this Court to amend this Complaint to insert the
4       true names and capacities of DOES I through X and ROE Entities I through X, when the
 5      same have been ascertained, and to join such Defendants in this action.
6    8. Defendants and LML entered into a standarcl form Agreement for Defendants to provide the
 7
        Merchant services to.LML.
 8
     9. On July or August of 2018, LML restaurant owner Jesus F. Vazquez ("Vazquez") noticed
 9
        that money from debit and credit card txansactions at his restaurant were not being deposited.
10
        Vazquez realized that he is missing money from approximately Apri12017 through July 2018
11
        totaling over $620,000.00.
12
     10. During that time, LML had a small business merchant account with Defenda.nts.
13
     11. Paragraph 3.1 of the Agreement provided the following obligation from Defendants:
14
                  We will only be required to settle Card transactions for Card types specified in
15
                  your Application. Promptly after presentment of Sales Drafts pursuant to the
16
                  Operating Procedures, we will initiate a transfer of applicable settlernent
17
                  funds to you.
18
     12. Paragraph 13.2 of the Agreement states:
19
                  We agree to indennnify and hold you harmless from and against all losses,
20
                  liabilities, damages and expenses resulting from any breach of any warranty,
21
22                covenant or agreement or any misrepresentation by us under this Agreement

23                or arising out of our or our employee's gross negligence or willful misconduct

24                in connection with this Agreement; provided that this indemnity obligation

25                shall not apply to Banlc with respect to Non-Banlc Services.

26   13. Defendants breached their obligation to LML imder paragraphs 3.1 and 13.2 of the

27      Agreeinent. For 15 months, approximately April 2017 through July 2018, debit and credit
28



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1       card transactions showed as "settled" on the credit card processing machine, but no money
2       was deposited to LML's account.
3    14. Despite several attempts to resolve the discrepancy, Defendants have not responded. LML
4-      has no choice but to file suit against Defendants as more fu11y set forth herein.
5                                     FIRST CAUSE OF ACTION
6                                      BREACH OF CONTRA.CT
7
     15. LML hereby incorporates by reference paragraphs 1-18 as though fully set forth herein.
 8
     16. The Agreement between LML and Defendants is a valid and enforceable contract.
 9
     17. LML and De£endants entered into a valid contract for a merchant account as embodied in the
10                                                                                                       I
        standard form Agreement {which inchtdes the Wells Fargo Merchant Processing
11
        Application, the Merchant Sei-vices Program Guide}.
12
     18. LML has per£ormed all of the obligations pursuant to their Agreement with Defendants.
13
     19. In the Agreement, Defendants were to provide debit and credit card transaction services to
14
        facilitate payments from LML customers to LML. ln turn, Defendants would charge LML
15
         fees for the processing service.
16
     20. ln the contract, Defendants agreed to transfer applicable settlement £nnds to LML for settled
17
         card transactions upon tb.e receipt of sales drafts.
18
19   21. For 15 months, Defendaiits failed to transfer the settlement fiinds to LML from the debit and

20       credit card transaction made to LML despite the transactions showing as "settled," thereby

21       breaching its duty to LML.

22   22. Defendants' breach of contract has damaged LML in the form of revenue it is missing for

23       services provided to restaurant customers between April 2017 and July 2018.
24   23. LML is entitled to recover damages resulting from Defendants' failure to hansfer the settled
25       funds to LML.
26   24. LML has been forced to retain an attorney in order to prosecute this action due to Wells
27       Fargo's breacli of contract and should therefore be awarded attonley's fees and costs.
28



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.1                               SECOND CAUSE OF ACTION
                                    UNJUST ENRICHMENT
2    25. LML hereby incorporates by reference paragraphs 1-26 as though fully set forth herein.
3    26. By not transfeixing the settled fiinds from credit card and debit transactions to LML,
4
         Defendants has effectively Lmjustly retained the benefit of said funds to the loss of LML.
5
     27. Defenda.nts have accepted and retained the benefit without payment of value to LML for the
6
         same.
7
     28. LML through its own efforts and at its own costs, provided services to customers at the
8
         restaurant during the months of Apri12017 through July 2018. The missing revenue from
 9
         these services to LML was in excess of $620,000.00.
10
     29. LML should therefore be reimbursed its missing revenue from the credit card and debit
11
         transactions that-were displayed as "settled" on the credit card processing machine.
12
     30. LML has been forced to retain an attorney in order to proseeute this action due to Wells
13
         Fargo's unjust enrichment and should therefore be awarded its attorney's fees and costs.
14
15       WHEREFORE, based on the above and foregoing, Plaintiff respectfully requests the

16   following:

17       1. A Judgment of the Court in favor of the Plaintiff damages in an amount to be determined

18           at trial.

19       2. For attorney's fees and costs associated with this action.

20       3. For such other and further relief as this Court deems appropriate in the premises.
21   RESPECTFULLY SUBMITTED this )l—day of March 2019.
22                                                      M       & ANDERSON
23
                                                        DA     L . ANDERSON, ESQ.
24                                                      Nevada Bar No. 9955
                                                        703 South 8th Street
25                                                      Las Vegas, Nevada 89101
                                                        (702) 386-0030
26
                                                        Attorneys for Plaintiff
27
28



                                                 Page 5 of 5
